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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                       CASE NO.: 1:19-cv-24233

  MERCEDES GUINAND-DAO,

         Plaintiff,
  v.

  BAPTIST HEALTH OF SOUTH FLORIDA, INC.,

         Defendant.
  _______________________________/

                      DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                         WITH SUPPORTING MEMORANDUM OF LAW

         Pursuant to Rule 56(c) of the Federal Rules of Civil Procedure and Rule 56.1 of the Local

  Rules of Civil Procedure for the Southern District of Florida, Defendant, Baptist Health South

  Florida, Inc. (“Baptist”), respectfully moves for entry of summary final judgment in this action,

  states as follows:

 I.       INTRODUCTION

         Plaintiff’s contention that Baptist unlawfully terminated her employment based on her age

  and/or disability is baseless. The record demonstrates that Baptist terminated Plaintiff after

  concluding that she attempted to cover up a serious medical administration error that put a pediatric

  patient’s life at risk. Although Plaintiff contends she did nothing wrong, it is clear that her

  termination had nothing to do with her age and/or hearing impairment. Plaintiff’s claim that

  Baptist failed to accommodate her hearing impairment also is unfounded. To the contrary, the

  record shows that Baptist accommodated her impairment and that Plaintiff subsequently expressed

  she was satisfied with the accommodations. Finally, there is no evidence to support Plaintiff’s

  allegation that Baptist terminated her in retaliation for complaints she made against her manager.
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         In her Complaint, Plaintiff asserts claims for wrongful discrimination and retaliation in

  violation of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., as amended (“ADA”)

  and the Age Discrimination in Employment Act (29 U.S.C. §§621 et seq.) (“ADEA”).

  Additionally, Plaintiff alleges retaliation and failure to accommodate under the ADA.

          An analysis of the facts of this and applicable law conclusively demonstrates that Baptist

  is entitled to final judgment as a matter of law because Plaintiff cannot establish: 1) a prima facie

  case of unlawful discrimination (ADEA or ADA); 2) a prima facie case of unlawful retaliation

  (ADA); or a failure to accommodate claim (ADA). Further, Baptist otherwise would be entitled

  to summary judgment because Plaintiff cannot show that Baptist’s reasons for her termination are

  pretextual. Accordingly, Defendant is entitled to final judgment as a matter of law.

  II.    SUMMARY JUDGMENT STANDARD

         A.      Summary Judgment Standard

         Summary judgment is "an integral part of the Federal Rules as a whole, which are designed

  to secure the just, speedy, and inexpensive determination of every action." Celotex Corp. v. Catrett,

  477 U.S. 317, 321 (1986) (internal quotations omitted). Summary judgment “shall be rendered if

  the pleadings, depositions, answers to interrogatories, and admissions on file, together with the

  affidavits, if any, show that there is no genuine issue as to any material fact and that the moving

  party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c). The moving party bears

  the initial responsibility of showing the Court, by reference to the record, that there are no genuine

  issues of material fact to be decided at trial. Celotex Corp., 477 U.S. at 323. When the non-moving

  party bears the burden of proof on an issue, the moving party need not offer affidavits negating the

  opponent’s claim. Id. Instead, the moving party may discharge its burden by showing the Court

  that there is an absence of evidence to support the non-moving party’s case. Id. at 325.



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         When a moving party meets its burden, the non-moving party must “go beyond the

  pleadings,” and by affidavits or by “depositions, answers to interrogatories, and admissions on

  file,” and designate specific evidence showing there is a “genuine issue for trial.” Id. at 324. It is

  the non-moving party’s obligation to come forward with specific facts, not “mere allegations or

  denials of his pleadings.” See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). There

  is no issue for trial unless there is sufficient evidence favoring the non-moving party for a fact

  finder to return a verdict for that party. Id. at 250. Summary judgment is proper if the non-moving

  party fails to make this requisite showing. Id.; Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

  475 U.S. 574 (1986). As the Supreme Court has noted, "a scintilla of evidence in support of the

  plaintiff's position will be insufficient [to overcome summary judgment]; there must be evidence

  on which the jury could reasonably find for the plaintiff." Anderson, 477 U.S. at 252; see also,

  Grigsby v. Reynolds Metals Co., 821 F.2d 590, 597 (11th Cir. 1987) (“Where the defendant's

  justification evidence completely overcomes any inference to be drawn from the evidence

  submitted by the plaintiff, the district court may properly acknowledge that fact and award

  summary judgment to the employer.”).

         B.      The McDonnell-Douglas Burden Shifting Paradigm 1

         The ADEA makes it unlawful for an employer to discriminate against an employee with

  respect to the terms, conditions or privileges of employment because of the employee’s age. 29




  1
   When analyzing discrimination claims under the ADEA and ADA, courts follow the same burden-shifting
  analysis established in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct. 1817, 36 L. Ed. 2d 668
  (1973) and its progeny. See Durley v. APAC, Inc., 236 F.3d 651, 655–56, 657 (11th Cir. 2000) (applying
  burden-shifting framework in McDonnell Douglas to ADA claim). Chapman v. AI Transp., 229 F.3d 1012,
  1024 (11th Cir. 2000)( The Eleventh Circuit employs the framework established in McDonnell Douglas, to
  evaluate Age Discrimination in Employment Act claims that are based upon circumstantial evidence
  of discrimination). Accordingly, Plaintiff’s discrimination claims under the ADEA and ADA will be
  analyzed together under that framework.
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  U.S.C. § 623(a)(1). 2 The ADA, likewise, makes it unlawful to discriminate against “qualified

  individual[s] on the basis of disability.” 42 U.S.C. § 12112(a).The ADA also makes it unlawful to

  retaliate against an individual who exercises rights protected by the statute.

          It is well-settled that a plaintiff can establish a claim for discrimination or retaliation

  through either direct or circumstantial evidence. Given the absence of direct evidence in the instant

  case, Plaintiff must establish her claims through circumstantial evidence using the burden-shifting

  analysis employed in Title VII employment discrimination cases. Wascura v. City of S. Miami,

  257 F.3d 1238, 1242 (11th Cir. 2002); see also McDonnel Douglas Corp. v. Green, 411 U.S. 792,

  802, 93 S. Ct. 1817, 1824, 36 L. Ed. 2d 668 (1973). Under that paradigm, a plaintiff must first

  establish a prima facie case of unlawful discrimination or retaliation. Once a plaintiff sets forth a

  prima facie case, then the employer must articulate a legitimate, non-discriminatory basis for the

  action. Wascura, 257 F.3d 1242 (citing Chapman v. Al. Transport, 229 F.3d 1012, 1024 (11th Cir.

  2000)). However, the employer’s burden is merely one of production; it need not persuade the

  court that it was actually motivated by the proffered reasons. Id. Once the employer sets forth a

  legitimate,     non-discriminatory/retaliatory          reason,    then     the      presumption       of

  discrimination/retaliation is eliminated from the case and the plaintiff must come forward with

  evidence sufficient to permit a reasonable factfinder to conclude that the reasons given by the

  employer were not the real reasons for the adverse employment decision. Id., at 1243. If the

  plaintiff fails to proffer sufficient evidence to create a genuine issue of material fact as to whether




  2
    Importantly, the Supreme Court has set a high standard of proof for age discrimination claims.
  Specifically, to advance past the summary judgment stage, a plaintiff must prove “but for” her age, she
  would not have suffered discrimination. See Gross v. FBL Financial Services, Inc., 557 U.S. 167 (2009).
  In other words, Plaintiff bears the burden at all times, and must show that age was the “but-for” cause of
  the adverse employment action. Id.; see also Sims v. MVM, Inc., 704 F.3d 1327, 1332 (11th Cir. 2013);
  Liebman v. Metropolitan Life Ins. Co., 808 F.3d 1294, 1298 (11th Cir. 2015)
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  each of the defendant’s proffered reasons is pretextual, the defendant is entitled to summary

  judgment. Id.

  III.      ARGUMENT

         A. Plaintiff Cannot Establish a Prima Facie Case of Age or Disability Discrimination

            To establish a prima facie case of age discrimination, Plaintiff must establish the following

  elements: (1) she belongs to a protected category; (2) she was subjected to an adverse employment

  action; (3) similarly situated employees outside of her protected classification(s) were treated more

  favorably; and (4) she was qualified to do her job. Holifield v. Reno, 115 F.3d 1555, 1561-62 (11th

  Cir. 1997) (citing McDonnell Douglas Corp., 411 U.S. 792).

            In order to establish that similarly situated employees were treated more favorably, a

  plaintiff must show that her employer treated more favorably a substantially younger individual

  who was similarly situated in all material respects. See Lewis v. City of Union City, 918 F.3d 1213

  (11th Cir. March 21, 2019) (holding that a similarly situated comparator will have engaged in the

  same basic conduct (or misconduct) as the plaintiff; will have been subject to the same employment

  policy, guideline, or rules as the plaintiff; will ordinarily [ ] have been under the jurisdiction of the

  same supervisor as the plaintiff; and will share the plaintiff’s employment or disciplinary history).

  The “nature of the offenses committed and the nature of the punishment imposed” are the key to

  determining what conduct is “similar.” Jones v. Gerwens, 874 F.2d 1534, 1540-41 (11th Cir.

  1989). Moreover, evidence of similar conduct is “relevant only if it could be shown that [the

  decisionmaker] knew of such practices and did not act to discipline rule violators.” Id., at 1542;

  see also Silvera v. Orange County Sch. Bd., 244 F.3d 1253, 1261 (11th Cir. 2001) (“differences in

  treatment by different supervisors or decision makers can seldom be the basis for a viable claim of

  discrimination”).


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             To establish a prima facie case of disability discrimination, a plaintiff must show that she:

  1) had a disability 3; 2) was a “qualified individual” and 3) was subjected to unlawful discrimination

  because of her disability. 4 Mazzeo v. Color Resolutions Int’l, LLC, 746 F.2d 1264, 1268 (11th Cir.

  2014); Garrison v. City of Tallahassee, 664 F. App’x 823, 825-26 (11th Cir. 2016). Disability

  “discrimination” includes not making reasonable accommodations to the known physical ...

  limitations of an otherwise qualified individual with a disability who is an ... employee, unless

  such covered entity can demonstrate that the accommodation would impose an undue hardship on

  the operation of the business ....” 42 U.S.C. § 12112(b)(5)(A). The plaintiff must satisfy each of

  these three elements by a preponderance of the evidence. Hilburn v. Maruta Elecs. N. Am., Inc.,

  181 F.3d 1220, 1226 (11th Cir. 1999).

             In the case at hand, Plaintiff cannot establish a prima facie case of age or disability

  discrimination because she cannot establish that younger or non-disabled employees who were

  similarly situated were treated more favorably, or that she was qualified for her job.

  Consequently, Baptist is entitled to judgment as a matter of law

                 1. Plaintiff Cannot Establish That Similarly Situated Younger or Non-disabled
                    Employees Were Treated More Favorably.

           Plaintiff has failed to establish that Baptist treated similarly situated younger or non-

  disabled employees more favorably. While Plaintiff alleges that she was treated differently because

  of her age/disability, she has offered no evidence that similarly situated employees outside of these




  3
      Baptist does not dispute for purposes of this Motion that her hearing impairment constitutes a disability.
  4
   Under the ADA, a “qualified individual”” is “an individual who, with or without reasonable
  accommodation, can perform the essential functions of the employment position that such individual
  holds or desires.” Mazzeo v. Color Resolutions Int'l, LLC, 746 F.3d 1264, 1267–68 (11th Cir. 2014).
  Under the ADEA, a “qualified individual” refers to whether an employee’s “skills and background”
  render him or her qualified for the position in question. See Damon v. Fleming Supermarkets Of Fla.,
  Inc., 196 F.3d 1354, 1360 (11th Cir. 1999)
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  protected classifications were treated more favorably. Baptist terminated Plaintiff’s employment

  because its investigation into the Pyxis 5 discrepancy revealed that Plaintiff administered the

  incorrect dosage of Versed to a minor and then tried to cover it up rather than immediately bring

  the error to the attention of a Nurse Managers, Assistant Nurse Managers and/or Resource Nurse,

  as Baptist’s policies required. [SOF ¶¶ 24-28].


        Plaintiff, however, has not identified any other employee who conducted themselves in a

  similar manner under similar conditions and retained their employment at Baptist. Because

  Plaintiff cannot show there are any younger or non-disabled employees who engaged in the same

  or substantially same conduct and retained their employment with Baptist, she cannot establish an

  actionable claim for unlawful termination based on her age or disability. . See Blow v. Virginia

  Coll., 619 F. App’x 859, 863 (11th Cir. 2015); Dent v. Fed. Mogul Corp., 129 F. Supp. 2d 1311,

  1314 (N.D. Ala. 2001) (holding no actionable claim “because Plaintiff has failed to identify an

  employee of another race or gender who was both treated more favorably than and ‘similarly

  situated’ to him, for purposes of establishing a prima facie case).

             2. Plaintiff is Unable to Establish that She Was Qualified for Her Job at the Time
                of Her Termination

         Even if the facts of this case were different and Plaintiff could show that there were younger

  and/or no-disabled employees who were treated more favorably under similar circumstances,

  Plaintiff still cannot establish a prima facie case of age or disability discrimination because she

  was not qualified for her job.   Aside from her technical skills as a nurse, Plaintiff was unable or



  5
   The Pyxis machine is a locked machine in which narcotics are stored. In order to access the machine,
  the licensed healthcare provider must put in identifying information regarding themselves and the
  patient to whom the medication is being administered. The record of the date and time of each access
  into the machine is maintained by Baptist in order to reconcile the withdrawal of narcotics and monitor
  for any discrepancies. [SOF ¶ 18].
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  unwilling to comport herself with Baptist’s conduct and professionalism standards. The undisputed

  evidence establishes that Plaintiff had a long, documented history of performance issues and

  corrective action based on numerous patient and co-worker complaints. [SOF ¶ 28, and Ex. D and

  Ex. E]. The record demonstrates that Plaintiff was the subject of numerous corrective action from

  May 30, 2008 to her termination, and had been placed on decision-making more than once. [SOF

  ¶ 28, and Ex. D and Ex. E]. Because Plaintiff cannot establish that she was qualified for her

  position, she cannot establish a prima facie case of age or disability discrimination and, thus, her

  discrimination claims fail as a matter of law.

             3. Plaintiff Cannot Establish That Baptist’s Stated Reasons for Terminating Her
                are Pretextual

         Assuming Plaintiff could establish a prima facie case of age or disability discrimination,

  Baptist still is entitled to summary judgment because Plaintiff cannot show that its reasons for

  termination were pretextual. See McDonnell-Douglas Corp., 411 U.S. 792; Brungart, 231 F.3d at

  798; Barker, 375 F. App’x at 968. To do so, Plaintiff must set forth evidence that reveals “such

  weaknesses, implausibilities, inconsistencies, incoherencies or contradictions in the employer’s

  proffered legitimate reasons for its actions that no reasonable factfinder could find them unworthy

  of credence.” Combs v. Plantation Patterns, 106 F.3d 1519, 1538 (11th Cir. 1997). Such evidence

  must: (1) prove that the proffered reason is false; and (2) prove that discrimination was the real

  reason behind the termination. See Brisk, 2015 WL 12712316, at *5 (citations omitted) (granting

  summary judgment in FMLA claim on behalf of employer where employer presented legitimate

  business reasons for employment action and plaintiff failed to disprove them); Daugherty v.

  Mikart, Inc., 205 F. App’x 826, 827 (11th Cir. 2006) (affirming summary judgment without regard

  for whether plaintiff made a prima facie case of FMLA retaliation because employer proffered

  legitimate business reasons that plaintiff could not adequately refute as pretextual with sufficient

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  evidence). Moreover, the relevant inquiry is not whether Plaintiff believed she engaged in

  wrongdoing that warranted termination, but whether the decision-maker “believed Plaintiff may

  have violated a workplace rule, even if mistakenly or unfairly so.” Rodriguez v. Cargo Airport

  Services USA, LLC, No. 14-CV-22610, 2015 WL 13016400, at *8 (S.D. Fla. Aug. 5, 2015), aff’d,

  648 F. App’x. 986 (11th Cir. 2016) (emphasis added); Hudson v. Blue Cross Blue Shield of Ala.,

  431 F. App’x 868, 869 (11th Cir. 2011) (stating that “whether an employment decision was prudent

  or fair is irrelevant” and “an employer has the “right to interpret its rules as it chooses, and to make

  determinations as it sees fit under those rules”); Leach, 431 F. App’x at 777 (“It is a well-settled

  principle of employment law that in investigating employee misconduct and reaching an

  employment decision, employers are entitled to make credibility decisions, and our inquiry is

  limited to whether the employer reasonably believed in good faith that the employee had engaged

  in misconduct, not whether the employee actually did so.”) (internal citations omitted).

         Plaintiff’s denial of wrongdoing is not sufficient evidence of pretext. After a thorough

  investigation into the origins of the Pyxis discrepancy at issue, Baptist concluded Plaintiff

  administered the incorrect dosage of Versed to the patient, failed to follow proper procedures

  regarding the administration and waste of the medication, failed to immediately report the error to

  the appropriate officials, and then made contradictory and inconsistent statements to those

  conducting the investigation that revealed a cover up of those mistakes. [SOF ¶¶ 25-27].

         Moreover, the recommendation to terminate Plaintiff’s employment was reviewed by

  Baptist’s Long Service Review Committee (“Committee”), which consisted of the entity

  CEO, the Corporate Vice President and Chief Human Resources Officer, the Corporate

  Director, Employee Relations/Ombudsman, a representative from Pastoral Care, the

  responsible Vice President and the Human Resources Site Director. [SOF ¶ 31]. The Committee



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   met on July 21, 2014 and, after reviewing Plaintiff's employment history and the results of the

   investigation, determined that termination of Plaintiff's employment was appropriate. [SOF ¶

   31 and Ex. E, thereto].

      B. Plaintiff Cannot Establish that She was Denied a Reasonable Accommodation
         (Count I)

          Similarly, Plaintiff cannot establish a failure to accommodate claim under the ADA. An

   employer unlawfully discriminates against a qualified individual with a disability when the

   employer fails to provide ‘reasonable accommodations’ for the disability—unless doing so would

   impose undue hardship on the employer. Lucas v. W.W. Grainger, Inc., 257 F.3d 1249, 1255 (11th

   Cir. 2001). An accommodation is “reasonable” only if it allows the employee to perform the job’s

   essential functions. Id. The employee bears the burden of identifying an accommodation that

   would allow her to perform the essential functions of her job. Id.; Earl v. Mervyns, Inc., 207 F.3d

   1361, 1367 (11th Cir. 2000). This claim is separate and distinct from a discrimination claim. See

   Nelson v. PMTD Rests., LLC, Case No. 3:12-cv-369-MEF, 2013 U.S. Dist. LEXIS 111763, at *23

   (M.D. Ala. Aug. 8, 2013)(“[A]n employer’s failure to accommodate is a separate act of

   discrimination under the ADA that gives rise to separate cause of action under the ADA, with a

   different burden of proof and different theory of liability.”)

          Plaintiff’s Complaint fails to identify any specific accommodation that Baptist denied. The

   record shows that after Plaintiff mentioned that some of her difficulties with interpersonal

   communications are work may have been attributable to her hearing impairment, Baptist’s human

   resources engaged Baptist’s disability/accommodation specialists to meet with Plaintiff to evaluate

   her concerns.      After a thorough interactive exchange, Baptist granted virtually every

   accommodation Plaintiff requested, and perhaps more. Those accommodations included an

   ASCOM device to use at work, phone amplification, a quiet workstation, additional disability

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   training for Plaintiff’s co-workers and a vibrating and texting pager. [SOF ¶ 17]. Indeed, Plaintiff

   advised Baptist that she was very satisfied with these accommodations. [SOF ¶ 17]. Because

   Plaintiff was not denied a reasonable accommodation, Baptist is entitled to summary judgment on

   her failure to accommodate claim contained in Counts I of her Complaint. See Nelson v. PMTD

   Rests., LLC, 2013 U.S. Dist. LEXIS 111763, at *23 (M.D. Ala. Aug. 8, 2013)

       C. Plaintiff Cannot Establish a Prime Facie Case of Unlawful Retaliation

          Plaintiff also cannot establish an actionable claim for unlawful retaliation. 6 In order to

   establish a prima facie case of retaliation Plaintiff must show: (1) that she engaged in statutorily

   protected expression; (2) she suffered adverse employment action; and (3) a causal link between

   the protected expression and the adverse action. Stewart v. Happy Herman’s Cheshire Bridge,

   117 F.3d 1278 (11th Cir. 1997); see also Krutzig v. Pulte Home Corp., 602 F.3d 1231, 1234 (11th

   Cir. 2010) (citing Smith v. BellSouth Telecomms., Inc., 273 F.3d 1303, 1314 (11th Cir. 2001)).

   “‘To establish a causal connection, a plaintiff must show that the relevant decisionmaker was

   'aware of the protected conduct, and that the protected activity and the adverse actions were not

   wholly unrelated.’” Jones v. Gulf Coast Health Care of Del., LLC, 854 F.3d 1261, 1271 (11th Cir.

   2017) quoting Kidd v. Mando Am. Corp., 731 F.3d 1196, 1211 (11th Cir. 2013). “‘Generally, a

   plaintiff can show the two events are not wholly unrelated if the plaintiff shows that the decision

   maker was aware of the protected conduct at the time of the adverse employment action.’” Id.,

   quoting Krutzig, 602 F.3d at 1234 (11th Cir. 2010). With respect to the third prong, Claimant must



   6
     ADA and ADEA retaliation claims are assessed under the same framework employed for retaliation
   claims arising under Title VII. See Armbrester v. Talladega City Bd. of Educ., 325 F. App'x 877, 878
   (11th Cir. 2009) (holding the McDonnell Douglas framework applies equally to discrimination claims
   under ADEA and retaliation claims under Title VII and the ADEA); see also Stewart v. Happy Herman’s
   Cheshire Bridge, 117 F.3d 1278 (11th Cir. 1997)(ADA Claims assessed under same framework as Title
   VII retaliation claims); see also Sicilia v. UPS, 279 Fed. Appx. 936, n. 6 (11th Cir. 2008)(same). This
   discussion will proceed in analyzing the ADA and ADEA retaliation claims together for ease of reference.
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   prove that her protected activity was the “but-for” cause the adverse employment action. See Palm

   Beach Cnty. Sch. Bd. v. Wright, 217 So. 3d 163, 165 (Fla. 4th DCA 2017), review denied, No.

   SC17-1186, 2017 WL 4685625 (Fla. Oct. 19, 2017); Univ. of Texas Sw. Med. Center v. Nassar,

   133 S. Ct. 2517 (2013). As with the analysis for discrimination claims set forth above, if Plaintiff

   establishes a prima facie case of retaliation, the burden shifts to Baptist to articulate a legitimate,

   non-retaliatory reason for the challenged employment decision. See Farley v. Nationwide Mut. Ins.

   Co., 197 F.3d 1322, 1336 (11th Cir. 1999). Once Baptist does so, the burden shifts back to Plaintiff

   to demonstrate that the proffered reason is pretextual. See Id.

          In the case at hand, Plaintiff cannot establish the requisite “causal connection” between her

   protected activity and her termination of employment. 7 Fatal to Plaintiff’s claim is the fact that

   Plaintiff cannot establish the decision-maker in this case, Myrlene Decady-Alexis or the members

   of the Committee were aware of Plaintiff’s July 10, 2014 e-mail at the time of her termination.

   Further, Plaintiff’s complaint that people in her unit did not like working with disabled individuals

   came well after the investigation into Plaintiff’s medication administration error was underway.

   [SOF ¶¶ 23, 27-28] Plaintiff was already aware of the internal investigation at that time. [SOF ¶

   28]      Because     Plaintiff   cannot    establish   the   decision    makers     were    aware    of

   complaint during the investigation regarding her conduct or at the time of her termination, she

   cannot establish the essential “causal connection” element of her prima facie case. See Stanley v.

   Lockheed Martin corp., 2013 U.S. Dist. LEXIS 108145 (M.D. Fla. 2013) citing Cordoba v.

   Dillard’s, Inc., 419 F.3d 1169, 1175 (11th Cir. 2005) (an employer cannot be liable under the ADA

   for firing an employee when it had no knowledge of the disability and plaintiff failed to show that

   the relevant decision maker knew about her alleged disability); Morisky v. Broward County, 80


   7
    Baptist will assume for purposes of this Motion only that Plaintiff’s July 10, 2014 e-mail to Ms. McCoy
   constitutes protected activity.
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   F.3d 445,448 (11th Cir. 1996) (affirming summary judgment where employer was unaware that

   mental disability); Schoebel v. Am. Integrity Ins. Co., 2015 U.S. Dist. LEXIS 89868, n. 3 (M.D.

   Fla. 2015); see also Brungart v. Bellsouth Tel. Inc., 231 F.3d 791, 799 (11th Cir. 2000) (emphasis

   added) (affirming the district court’s granting of summary judgment where the employee failed to

   show that “the decision maker was aware of the protected conduct at the time of the adverse

   employment action”); Clover v. Total Sys. Servs., Inc., 176 F.3d 1346, 1354 ("[a]t a minimum, a

   plaintiff must generally establish that the employer was actually aware of the protected expression

   at the time it took adverse employment action”).

           In light of the fact that Plaintiff cannot establish the requisite causal connection, she cannot

   establish a prima facie case of retaliation. Even if Plaintiff could establish a prima facie case of

   retaliation she cannot show Baptist’s reasons for termination are pretextual for the same reasons

   set forth at supra, pp. 8-9.

   IV.     CONCLUSION

           It is clear in this case that the pleadings, depositions, and affidavits show that there is no

   genuine issue as to any material facts, and that Baptist is entitled to summary final judgment as a

   matter of law.

           WHEREFORE, Baptist respectfully requests that this Honorable Court enter an Order: (i)

   granting its Motion for Summary Final Judgment; (ii) entering final judgment in favor of Baptist;

   (iii) dismissing Plaintiff’s claims with prejudice; (iv) awarding Baptist its reasonable attorneys’

   fees and costs incurred in filing this motion and defending this case; and (v) awarding such other

   relief as the Court deems just and proper.




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            Dated this 13th day of November 2020, in Miami, Florida.


                                                   Respectfully submitted,

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